Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 1 of 14 PageID: 4504



 Not for Publication                                      FILED UNDER SEAL

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



 WAG ACQUISITION, LLC,                       Civil Action No.: 14-2340 (ES) (MAH)

                   Plaintiff,

 V.


 MULTI MEDIA, LLC. et a!..

                   Defendants.



 WAG ACQUISITION, LLC.                       Civil Action No.: 14-2345 (ES) (MAH)

                   Plaintiff,

 V.


 DATA CONVERSIONS, INC., eta!.,

                   Defendants.



 WAG ACQUISITION, LLC,                       Civil Action No.: 14-2674 (ES) (MAH)

                   Plaintiff,

 V.


 FLYING CROCODILE, INC., eta!.,

                   Defendants.
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 2 of 14 PageID: 4505




 WAG ACQUISITION, LLC,                      Civil Action No.: 14-2832 (ES) (MAH)

                 Plaintiff,

 V.


 GATTYAN GROUP S.ã.r.l., et at,

                Defendants.



 VAG ACQUISITION, LLC,                      Civil Action No.: 14-3456 (ES) (MAll)

                 Plaintiff,

 V.


 FRIENDFINDER NETWORKS INC., et aL,

                Defendants.



 WAG ACQUISITION, LLC,                      Civil Action No.: 14-4531 (ES) (MAH)

                Plaintiff,

 V.


 VUBEOLOGY, INC., er at,

                Defendants.



 WAG ACQUISITION, LLC,                      Civil Action No.: 15-3581 (ES) (MAH)

                 Plaintiff,

 V.


 \VEBPOWER, INC.,   ci’   aL,
                                                 OPINION ADOPTING
                Defendants.                  REPORT & RECOMMENDATION



                                      7
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 3 of 14 PageID: 4506




 SALA5, DISTRICT JUDGE

            Pending before the Court is a joint motion to dismiss for lack of subject-matterjudsdiction

 pursuant to Fed. R. Civ. P. 1 2(b)( I) or, in the alternative, to dismiss or transfer for improper venue

 under the patent venue statute, 28 U.S.C.            *   1400(b), filed by’ Defendants.’     (D.E. No. 162).2

 Plaintiff WAG Acquisition, LLC (“Plaintiff’) opposes the motions. (D.E. No. 165). Also before

 the Court is Plaintiff’s cross-motion to dismiss Defendant Doeler Media, LLC as a Defendant

 (D.E. No. 152), which Defendants Docler Media, LLC and Duodecad IT Services Luxembourg

 S.a.r.l. oppose (D.E. No. l54).

            On October 23, 2018, Magistrate Judge Michael A. Hammer issued a Report and

 Recommendation (D.E. No. 175 (“R&R”)) recommending that this Court: (i) deny the joint motion

 to dismiss for lack of subject-matter jurisdiction filed by all Defendants in the above-captioned

 cases; (ii) deny Defendants’ joint motion to dismiss for improper venue: (iii) grant Defendants’

joint motion to transfer venue as to WAG r. Mit/ti Media, LLC (Civ. No. 14-2340): WAG v. Data

 conversions, Inc. (Civ. No. 14-2345); WAG v. P/ring Crocodile, Inc. (Civ. No. 14-2674); WAG v.

FriendPinderNetu’orks, Inc. (Civ. No. 14-3456); IVAGv. Vubeologv, I,zc. (Civ. No. 14-453 1); and

 WAG v. WebPower, Inc. (Civ. No. 15-3581); (iv) grant Plaintiff’s cross-motion to dismiss




        This litigation is proceeding against various Defendants across the above-captioned related actions.
The following Defendants have signed on to the pending motion to dismiss: Multi Media. LLC:
FriendFinder Networks Inc.; Streamrav Inc.: WMM, LLC: WMM holdings. LLC: WebPower: Accretive
Technoloe Group. Inc.; ICF Technology Group, Inc.; Riser Apps, LLC: Duodecad IT Services
Luxembourg Sari.; Docler Media LLC; and Vubeology. Inc. (See Civil Action No. 14-2340, D.E. No.
163 at 49-51).
1
            For ease of reference, all citations will be to docket entries in the lead case. WAG Acqiusitzo;i. LLC
1’.   Mu/ti Media, LLC. Civil Action No. 14-2340, unless othenvise noted.

        All references to this motion and the documents pertaining thereto relate to 1MG Acquisition. LLC
v. Gattvdn Group Lot I., Civil Action No. 14-2832.

                                                          3
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 4 of 14 PageID: 4507



 Defendant Docler Media, LLC as a Defendant without prejudice; and (v) deny Defendants’ motion

 to transfer venue as to Defendant Duodecad IT Services Luxembourg S.a.r.l. (Civ. No. 14-2832).

The parties were given notice that they had fourteen days from their receipt of the Report and

 Recommendation to file and serve any objections pursuant to Local Civil Rule 72.1 (c)(2). (R&R

 at 44). Defendants timely filed ajoint objection (D.E. No. 176 (“DeE Obj.”)), and Plaintiff timely

 filed a response (D.E. No. 181 (“P1. Resp.”)).

        Having carefully reviewed the Report and Recommendation de       noio   and the submissions

by the parties. the Court hereby ADOPTS the well-reasoned and thorough Report and

 Recommendation of Judge Hammer. In addition to adopting the facts, the procedural history’, the

summary of the parties’ arguments. the discussion, and the conclusions of Judge Hammer, the

Court addresses Defendants’ main objections to the Report and Recommendation and Plaintiffs

main responses.

 I.     Legal Standard

        When a magistrate judge addresses motions that are considered “dispositive,” such as to

grant or deny a motion to dismiss, a magistrate judge will submit a report and recommendation to

the district court. See 28 U.S.C.   § 636(b)(l)(A): Fed. R. Civ. P. 72: L. Civ. R. 72.l(a)(2). The
district court may then “accept. reject or modify. in whole or in part. the findings or

recommendations made by the magistrate. The district judge may also receive further evidence or

recommit the matter to the magistrate with instructions.” 28 U.S.C. * 636(b)( I )(C); see also L.

Civ. R. 72.l(c)(2).   Unlike an opinion and order issued by a magistrate judge, a report and

recommendation does not have the force of law unless and until the district court enters an order

accepting or rejecting it. United Steelu’orkers ojAm. v. N.J. Zinc Co., Izic., 828 F.2d 1001, 1005

(3d Cir. 1987).



                                                  4
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 5 of 14 PageID: 4508



         The standard of review of a magistrate judge’s determination depends upon whether the

motion is dispositive or non-dispositive. For dispositive motions, the district court must make a

de    novo   determination of those portions of the magistrate judge’s report and recommendation to

which a litigant has filed an objection. 28 U.S.C.      § 636(b)(1)(C): Fed. R. Civ. P.72(b); L. Civ. R.
72.l(c)(2); see also State Farm Inc/em. v. Fornaro, 227 F. Supp. 2d 229, 231 (D.N.J.

2002); Zinberg i’. Washington Bancorp Inc., 138 F.R.D. 397,401 (D.N.J. 1990). The district court

“may consider the record developed before the Magistrate Judge” and make its “own determination

on the basis of that record.” L. Civ. R. 72.1 (c)(2).

II.      Discussion

          Defendants object only to Judge Hammer’s denial of Defendants’ motion to dismiss for

lack ofsubject-matterjurisdiction. (DeE Obj. at 7). Defendants primarily recycle arguments made

in support of their motion to dismiss—namely, that by virtue of a series of litigation funding

agreements which Plaintiff entered with Woodsford Litigation Funding (US) Limited (“WLF”),

Plaintiff surrendered substantial rights in the patents-in-suit to WLF such that Plaintiff lacks

constitutional and prudential standing to enforce those patents. (See generally DeL Obj.; D.E. No.

 163 at 22—36). Judge Hammer rejected these arguments, concluding generally that Plaintiff did

not transfer such significant rights to WLF, and that WLF’s rights were not so restrictive of

Plaintiff’s rights, as would deprive Plaintiff of standing. (See generally R&R at 11—27). This

Court agrees with Judge Hammer.

         As an initial matter, the Court echoes Judge Hammer’s contextualization of this dispute in

the relevant legal landscape:

                   This matter is distinguishable from much of the caselaw on which
                   the parties rely. Most of those cases involved licensing agreements
                   between the patent owner and a licensee, where some right to
                   practice under the patents, or to assign or license the patents, was


                                                    5
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 6 of 14 PageID: 4509



                transferred to the licensee. The agreements between (Plaintiffi
                and WLFI, by contrast,I are not licensing agreements, and WLF
                is not afforded any independent rights under the patents at all.
                Rather, the crux of the issue currently before the Court is what rights
                were transferred from [Plaintiff] to WLF as a result of the financing
                and operating agreements.

(hI. at 13 (emphasis added)). With that important qualification in mind, the Court addresses

Defendants’ objections in turn.

        A.      WLF’s Litigation Rights

        The Federal Circuit has emphasized that “[f]requently..          .   .   the nature and scope of[a patent

plaintiffs] right to bring suit   .   .   is the most important consideration” in detennining whether the

plainti ffretains enough rights in the patent-in-suit for purposes of standing. ri/fred E. Main; FoniuL

for Scientific Research v. Cochicar Corp.. 604 F.3d 1354. 1361 (Fed. Cir. 2010). Judge Hammer

found, and Defendants do not dispute. that under Plaintiffs agreements with WLF, Plaintiff retains

the sole legal right to initiate litigation over the patents-in-suit. (R&R at 12 & 14). Once Plaintiff

initiates a suit, it must allow WLF the option to fund the action. (Sec Ed. at 14). If WLF decides

not to hind the action, Plaintiff may proceed with the litigation on its own. (See iS.). Nevertheless,

Defendants argue that Plaintiff lacks the sole ability to sue      :S   a practical mat/cr because Plaintiff

lacks the resources to pursue litigation on its own and is therefore “financially dependent on \VLF

to enforce the patents-in-suit.”           (DeE Obj. at 11—12).    As Plaintiff points out. Defendants’

contention about Plaintiff’s financial circumstances is speculative and unsupported by evidence.

(See P1. Resp. at II). Defendants also fail to cite any authority for their position that a party’s

ability or inability to fund its suit has any bearing on the standing analysis. The Court therefore

rejects Defendants’ objection and adopts Judge Hammer’s reasoning on this point.

        Second, Defendants contend that WLF’s right to involvemcnt in settlement decisions

deprives Plaintiff of standing.              (Def Obj. at 12—14).                Judge Hammer’s Report and


                                                        6
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 7 of 14 PageID: 4510



Recommendation explains Plaintiff’s and WLF’s relative rights with respect to settlement:

“[Plaintiff] can settle pending litigation with the consent ofWLF. However, if[Plaintiffj and WLF

cannot agree on the settlement terms, a third-party expert makes a final and binding decision.”

(R&R at 12). Defendants argue that WLF’s involvement in settlement decision-making requires

a finding that Plaintiff alone lacks standing and that WLF must be joined in these actions. (Def.

Obj. at 13—14). In Defendants’ view, the requirement of WLF’s consent would force Defendants

to negotiate a settlement with a non-party entity, which prejudices Defendants. (Ic!.). Plaintiff

responds that “WLF has no power on its own to settle” and that the settlement approval process

“is a private matter of corporate governance,” analogous to the context of a corporate entity that

requires input from various stakeholders before finalizing a settlement. (P1. Resp. at 13—14).

             The Court agrees with Plaintiff that WLF’s limited role in settlement decision-making is

 insufficient to deprive Plaintiff of standing. As Judge Hammer reasoned:

                     That WLF must consent to settle litigation does not, by itself,
                     compel the conclusion that [Plaintiff] lacks substantial rights in the
                     patents necessary to confer standing. First, as noted above, only
                     [Plaintiff] can initiate suit. Moreover, WLF cannot, by itself force
                     settlement. Instead,...if [Plaintiff] and WLF cannot agree on
                     settlement tents, a third-party expert makes the final and binding
                     settlement decision. This provision alone limits WLF’s rights in the
                     patents.

(R&R at 1$). Judge Hammer analogized the provision requiring third-party expert approval to

other cases involving consent requirements but providing that such consent may not be

 unreasonably withheld, reasoning that the expert-approval provision serves a similar limiting

purpose.         (Id.).   When moderated in this way, the Federal Circuit has found that consent

requirements “do[ ] not significantly restrict the scope      or’ a party’s   rights in a patent. Speedplay.

Inc.   i’.   Bebop, Inc., fl 1 F.3d 1245, 125 1—52 (Fed. Cir. 2000); see also Intellectual Prop. Dei’eL,

Inc.   i’.   717 Cablevision   f Cal,   Inc., 24$ F.3d 1333, 1343 (Fed. Cir. 200!). Here, importantly,


                                                       7
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 8 of 14 PageID: 4511



 WLF alone can neither settle the litigation nor force Plaintiff to settle. (Sec R&R at 22). This

 Court therefore agrees with Judge Hammer’s finding that, while WLF’s role in settlement

 decision—making does function as a restriction on Plaintiff’s substantial rights, it is “not so

 restrictive as to compel the conclusion that [Plaintiff] transferred substantial rights in the patents

 to WLF.” (Id.).

        Third, Defendants assert that WLF’s ability to exercise its special voting rights with respect

 to litigation also deprive Plaintiff’ of standing. (Del’. Obj. at 14—16). As a member of Plaintiff,

 WLF may use its special voting rights to continue or discontinue litigation if both WLF and

 Plaintiffs counsel agree.    (See R&R at 6 & 12).        Defendants argue that such rights “make

 [Plaintiffs] ability to control litigation illusory” and render WLF “the party that controls the

 litigation once it is initiated.” (DeE Obj. at 15—16). However, as Judge Hammer found. WLF’s

 voting rights arise only contingently and “do not confer exclusionary rights” on WLF. (R&R at

 19). For instance. WLF may discontinue the litigation if WLF ceases finding and Plaintiff cannot

 find an alternative funding source. (D.E. No. 163-13 at 30—3 1). In such a circumstance, as Plaintiff

 argues, Plaintiff may continue to pursue the litigation at its own expcnse. (P1. Resp. at 15). As

 this Court has already determined. Plaintiffs ability or inability to self-fund the litigation does not

 affect its standing to bring suit. \VLF may also discontinue the litigation if Plaintiffs counsel

 ceases its representation and WLF cannot secure replacement counsel. (See D.E. No. 163-13 at

 30—31). But without any counsel to prosecute the case, the discontinuance of the litigation would

 be a product of circumstances—not the result of any meaningful exercise of WLF’s “right’ to

 discontinue it. The Court therefore concurs with Judge Hammer’s characterization of WLF’s

 voting rights as future “contingencies” that do not constitute a significant transfer of Plaintiff’s

 rights, as well as Judge Hammer’s analogy of these “contingencies” to potential future interests,



                                                    8
    Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 9 of 14 PageID: 4512



     which the Federal Circuit has held not to constitute “full exclusionary interests” for purposes of

     standing at the time a lawsuit commences. (Sec R&R at 19 (citing Morrow                    i’.   Microsoft Coip.,

     499 F.3d 1332, 1343 (Fed. Cir. 2007)).

             Finally, Defendants contend that WLF’s first priority to damages is indicative of ownership

     rights in the patents. (DeE Obj. at 16—17). Judge Hammer found that WLF’s first priority to

—    damages is consistent with WLF’s protection of its own investment in this litigation and does not

     constitute an ownership right. (R&R at 23). A right to a portion of the proceeds of litigation is

     not necessarily a substantial right in the patent, particularly when the portion is not a substantial

     share. See Propat Intern. Corp.   i’.       Rpost, Inc., 473 F.3d 1187, 1191 (Fed. Cir. 2007). Here, the

     share of damages to which WLF is entitled under the parties’ agreements has been redacted (see

     D.E. No. 163-13 at 16), but WLF’s Chief Executive Officer testified at his deposition that WLF’s

     share would be less than fifty percent (P1. Resp. at 16 (citing D.E. No. 163-12 at 24—25)). Based

     on this record, the Court cannot conclude that WLF’s first priority to some share of the damages

     constitutes a substantial right in the patents enough to deprive Plaintiff of standing. Accordingly,

     the Court concurs with Judge Hammer’s finding and adopts the Report and Recommendation on

     this issue.

             B.     VLF’s Patent Rights

             Plaintiff retains the right to assign, transfer, sell, or license the patents, but it requires

     WLF’s consent, which may not be unreasonably withheld. (See R&R at 12). Defendants maintain

     that this consent requirement constitutes a substantial limitation on Plaintiffs ownership rights.

     (Def. Obj. at 18—19). Judge Hammer rejected this argument, reasoning that “where restrictions on

     the rights to assign and license are    .   .   .   limited by a requirement that the transferor and transferee

     consent to the assignment or license, and the required consent cannot be unreasonably withheld,



                                                                 9
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 10 of 14 PageID: 4513



 such a restriction is not significantly restrictive of the transferor’s rights in the patent.” (R&R at

 15). Judge Hammer correctly relied on Spccdp/av. Inc.    i’.   Bcbop. Inc., in which the Federal Circuit

 considered. in/cr a/ia, a provision in a license agreement limiting the licensee’s ability to assign

 its license without the licensor’s consent, but prohibiting the licensor from unreasonably

 withholding consent. 211 F.3d at 1251. The Federal Circuit distinguished such a provision from

 an “absolute right to veto any assignment’S and concluded that, given the reasonableness limitation,

 “the consent requirement [did] not significantly restrict the scope of [the plaintiffs] rights in the

     patent.” Id. at 1252. The same is true here. The Court rejects Defendants’ argument that

 WLF’s rights are broader than the licensor’s rights in Spcedplav or that WLF may withhold consent

 for an undefined “multitude of reasons” (see Def. Obj. at 19), because here, the reasonableness of

 WLF’s withholding of consent must be measured “according to its consistency with [Plaintiffs]

 Patent Assertion Strategy.” (R&R at 17 (citing D.E. No. 163-13 at 10)).

        Second, Defendants argue that WLF’s right to convert the patents to its own name under

 certain circumstances indicates that WLF has significant rights in the patents. (Def. Obj. at 20—

 21). Plaintiff agreed to give WLF a security interest in the patents as collateral, and WLF may

 convert the patents to its name if Plaintiff defaults. (See R&R at 7 & 13 (citing D.E. No. 163-2!

 at 8—9. 13—14)). As with WLF’s right to continue or discontinue the litigation. Judge Hammer

 found WLF’s right to convert the patents to be a “contingenc[y]” that does “not confer

 exclusionary rights” on WLF. (Id. at 19). Indeed. WLF may convert the patent only in an event

 of default. (See D.E. No. 163-21 at 13—14; P1. Resp. at 19—20). WLF’s conversion right is distinct

 from the right considered in Propat. 473 E.3d at 1191—92, where the patentee had the ability to

 terminate the plaintiffs patent rights if the plaintiff failed to perform up to certain benchmarks,

 because here. WLF may convert the patents only upon an event ofdefault. WLF’s right to convert,



                                                  10
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 11 of 14 PageID: 4514



 as Judge Hammer reasoned, is thus better characterized as a security interest protecting WLF’s

 investment than as an ownership right in the patent. (See R&R at 23). As a result, WLF’s right to

 convert the patent in the event of default does not deprive Plaintiff of standing.

         Third, Defendants raise the prudential concern that Plaintiff’s continued prosecution of this

 litigation withoiLt joining WLF poses a threat of multiple lawsuits. (DeE Obj. at 2 1—22). Judge

 Hammer correctly noted that Plaintiffs and WLF’s relationship “does not give rise to this risk”

 because Plaintiff “holds legal title to the patents, and the agreements confer no authority on WLF

 to initiate litigation, much less unilaterally.” (R&R at 24). Instead, Plaintiff has the sole right to

 sue. (See Id.). Nevertheless, Defendants raise the possibility that Plaintiff could default and WLF

 could invoke its right to convert the patents to its own name, in which case there would be “no

 guarantee that there [would] not be additional lawsuits.” (DeE Obj. at 21). But this right is a

 hypothetical future occurrence contingent on Plaintiff’s default. In the event Plaintiffdoes default

 and WLF does convert the patents, Plaintiffs “right to sue for infringement would be

 extinguished,” (P1. Resp. at 20), leaving no risk of multiple lawsuits against Defendants.

 Accordingly, the Court concurs with Judge Hammer and adopts the conclusions of the Report and

 Recommendation on this matter.

         Fourth, Defendants argue that the rights that Plaintiff transferred to WLF outweigh

 Plaintiffs retained rights to practice under the patents. (DeE Obj. at 22—23). Judge Hammer

 carefully weighed the parties’ rights and found that Plaintiff “retained all exclusionary and

 substantial rights in the patents such that [Plaintiff] possesses constitutional standing to bring this

 action.” (R&R at 23 (citing Morrow, 499 F.3d at 1340)). Most importantly, only Plaintiff can

 initiate proceedings to enforce the patents. (Id.). Plaintiff also retains legal title to the patents, and

 can “practice under the patents, expand and strengthen them, license them, and sue third parties



                                                     11
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 12 of 14 PageID: 4515



 for infringement.” (Id. at 23—24). As discussed supra, WLF’s limited set of rights and contingent

 ftiture interests—such as its priority to a share of damages and its right to provide consent (not

 unreasonably withheld) to licensing determinations—do not outweigh the significant rights in the

 patents that Plaintiff retained. The Court therefore rejects Defendants’ objection and agrees with

 Judge Hammer’s balancing of the parties’ rights.

        Finally, Defendants raise a new argument in their objections to the Report and

 Recommendation that Plaintiff lacks the ability to assign its rights under its agreements with WLF,

 which, in Defendants’ view, is a significant limitation on Plaintiffs ownership rights in the patents.

 (Def. Obj. at 19—20). Because this argument was raised for the first time in Defendants’ objections

 to the Report and Recommendation, and not in Defendants’ motion brief (see genera/h D.E. No.

 163), the Court deems this argument to be waived. Sec Jimene: r. Banthart. 46 F. App’x 684. 685

 (3d Cir. 2002).

        Fundamentally, WLF contracted to fund this litigation, and Plaintiff secured that

 transaction by granting WLF a limited set of rights. The very purpose of the parties’ engagement

 was to enable Plaintiff to sue to enforce the patents. As Judge Hammer correctly concluded,

 “WLF’s interest is purely financial—in short. if the infringement litigation yields an award to

 [Plaintiff]. WLF is remunerated.” (R&R at 26). The rights transferred to WLF “reflect an intention

 to allow WLF to protect its investment” in the litigation. which “is fundamentally different than

 an intention to confer on WLF substantial rights in the patents themselves.”             (14. at 23).

 Accordingly, and because Defendants raise no further objections to Judge Hammer’s standing

 analysis, the Court concludes that Plaintiff has standing to bring these actions and that the Court

 may exercise subject-matter jurisdiction.




                                                   12
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 13 of 14 PageID: 4516




 III.   Conclusion

        For the foregoing reasons, having reviewed Magistrate Judge Hammer’s Report and

 Recommendation, Defendants’ objection thereto, and Plaintiff’s response, this Court hereby

 adopts Magistrate Judge Hammer’s Report and Recommendation in full. Accordingly, the Court:

        (i) DENIES Defendants’ motion to dismiss for lack of subject-matter jurisdiction under

 Fed. R. Civ. P. 12(b)(1);

        (ii) DENIES Defendants’ motion to dismiss for improper venue pursuant to 28 U.S.C.      §
 1400(b), 1406;

        (iii) GRANTS Defendants’ motion to transfer venue pursuant to 28 U.S.C.        §   1400(b),

 1406; as follows:

                  (a) WAG    i’.   Multi Media, LLC, Civil Action No. 14-2340 is TRANSFERRED to

 the United States District Court for the Central District of California;

                  (b) WAG    i’.   Data Conversions, Inc., Civil Action No. 14-2345 is TRANSFERRED

 to the United States District Court for the District of Nevada;

                  (c) WAG v. Flying Crocodile, Inc., Civil Action No. 14-2674 is TRANSFERRED

 to the United States District Court for the Western District of Washington;

                  (d)    WAG v. FricndfInder Networks Inc., Civil Action No.           14-3456 is

 TRANSFERRED to the United States District Court for the Northern District of California;

                  (e) WAG v. Vubeologv, Inc., Civil Action No. 14-453 I is TRANSFERRED to the

 United States District Court for the Western District of Texas; and

                  (0    WAG v. Webponer, Inc., Civil Action No. 15-3581 is TRANSFERRED to the

 United States District Court for the Southern District of Florida.



                                                     13
Case 2:14-cv-03456-ES-MAH Document 171 Filed 08/13/19 Page 14 of 14 PageID: 4517



          (iv) GRANTS Plaintiff’s cross-motion to dismiss Defendant Docler-U.S. under Fed. Ft

 Civ. P. 41(a)(2) without prejudice and DENIES Defendants’ motion to transfer pursuant to 2$

 U.S.C.   § 1404(a) in IMGAcqiiisition LLC i Gunman Group Lap!., Civ. No. 14-2832.
          An appropriate Order accompanies this Opinion.



                                                           s/Esther Saias
                                                           Esther Salas, U.S.D.J.




                                                14
